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                          UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT

      UNITED STATES OF AMERICA,             :
                                            :
             Appellee,                      :
                                            :     USCA No. 19-1553; 19-1952
      v.                                    :     USDC No. 14-cr-10227-PBS-1
                                            :     USDC No. 14-cr-10162-MLW-1
      CAMERON M. LACROIX,                   :     USDC No. 14-cr-10227-PBS-1
                                            :
             Appellant.                     :
                                            :

                   APPELLANT’S MOTION FOR AUTHORIZATION
                    IN EXCESS OF THE STATUTORY LIMITATON
                    FOR PRINTING AND PARALEGAL SERVICES
           Appellant, through undersigned counsel, respectfully request that this

      Honorable Court authorize payment for printing, paralegal, or other services

      pursuant to Criminal Justice Act, 18 U.S.C. § 3006A(e). In support, I state the

      following:

      1. Counsel is preparing to file an Opening Brief of Appellant and Appendix in the

      above-mentioned consolidated case. In order to prepare the Brief and Appendix,

      Appellant retained the services of GibsonMoore Appellate Services. Attached is an

      estimate prepared by GibsonMoore.

      2. Appellant submits that GibsonMoore’s Appellate Services fee is reasonable

      considering the number of paper copies required to be filed and served on

      Counsel and Defendant.
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                                                                                    ID: 6383708




      3. This Court has the authority to authorize services of the kind to be provided

      by GibsonMoore, where payment of such services will exceed remaining

      allowance for Expert Services.

         WHEREFORE, Appellant respectfully requests that this Honorable Court

      enter an order authorizing payment to GibsonMoore Appellate Services in an

      amount not to exceed $3,700.00.

                                            Respectfully submitted,

                                            ANTHONY D. MARTIN, PC

                                       By: /S/
                                             Anthony D. Martin, USDC MD 05224
                                             GREENWAY CENTER OFFICE PARK
                                             7474 Greenway Center Drive, Ste 150
                                             Greenbelt, MD 20770
                                             (301) 220-3700; (301) 220-1625
                                             Counsel for Appellant; Cameron LaCroix

                            CERTIFICATE OF COMPLIANCE

         This motion complies with the type-volume limitation of Fed. R. of App. P.
      27(d)(1) and (2) because:

      1. This motion does not exceed 5,200 words, it contains 163 words.

      2. This motion has been prepared in a proportionally spaced typeface using
      Microsoft Word, Times New Roman, 14 point.
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                                                                               ID: 6383591
                                                                                    ID: 6383708




                               CERTIFICATE OF SERVICE

         I hereby certify that a copy of this motion was served upon all counsel of

      record via the Court’s CM/ECF system on Monday, November 23, 2020


                                            /S/
                                            Anthony D. Martin, Esquire
                                            Appellate Defense Counsel
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 Gibson Moore Appellate Services, LLC
 206 East Cary Street
                                                                                              ESTIMATE
 P.O. Box 1460                                                                                Date          Estimate #
 Richmond, VA 23218
                                                                                         11/20/2020           6256


                   Contracting Attorney                                              Case
    Anthony D. Martin                                        19-1553 US v. Lacroix
    ANTHONY D. MARTIN, PC
    7501 Greenway Center Drive, Suite 460
    Greenbelt, MD 20770




      Item                                 Description                             Quantity     Cost          Total
 Appellate Ser... Appellate Services - 1st Circuit Appellant's Brief, Reply                   3,190.00        3,190.00
                  Brief and Appendix Service Charges (Retrieve, name and
                  save Appendix document. assemble appendix in
                  accordance to Court Rules, number pages, create detailed
                  TOC, prepare cover. Insert Appendix citations. OCR and
                  transmit Appendix to counsel for review. Review brief for
                  compliance, confirm receipt. Compose Brief cover, format
                  brief, compose TOC, TOA and Certificates. Merge into
                  PDF and email to counsel for review. Receive and make
                  counsel's edits, update TOC and TOA. Prepare Certificate
                  of Confidentiality. File Brief, Appendix and Certificate of
                  Confidentiality in CM/ECF. Print, bind served and filed
                  paper copies)
 1st AA           1st Circuit Appellant's Brief Per Page (10 copies of 83 pages)        830          0.10       83.00T
 1st JA           1st Circuit Appendix Per Page Fee (Vol. I - 6 copies of 500         3,000          0.10      300.00T
                  pages)
 1st AA           1st Circuit Appellant's Reply Brief Per Page (10 copies of 35         350          0.10        35.00T
                  pages)
 UPS/FedEX        UPS/FedEx Charges (Estimate - 2nd Day Air)                                     80.00          80.00




                                                                                    Subtotal:                $3,688.00

                                                                                    Sales Tax: (0.0%)            $0.00

                                                                                    Total:                  $3,688.00
